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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL
LA CV 22-02344-MEMF-(GJSx) ate October 6, 2022

Case No.

Title

 

 

Jane Doe v. Joseph Diaz Jr.

PRESENT: Honorable Maame Ewusi-Mensah Frimpong
United States District Judge

 

Kelly Davis Laura Elias

Courtroom Deputy Clerk Court Reporter

Attorneys Present for Plaintiff: Attorneys Present for Defendant
Rajan Dhungana No appearances made

PROCEEDINGS: SCHEDULING CONFERENCE (Held and Completed)

Case called. No appearance is made by Defendant. Court confers with
Plaintiffs counsel. The Scheduling Conference is held. The Court’s Trial Order

shall issue.

03

 

Initials of Deputy kd
Clerk

 

 

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